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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                    IN THE UNITED STATES DISTRICT COURT                 May 19, 2020
                     FOR THE SOUTHERN DISTRICT OF TEXAS              David J. Bradley, Clerk
                              HOUSTON DIVISION


ART SHABAN, Individually and             §
d/b/a WESTHEIMER PAINT & BODY,           §
                                         §
                    Plaintiff,           §
                                         §      CIVIL ACTION NO. H-19-0987
v.                                       §
                                         §
THE HERTZ CORPORATION,                   §
                                         §
                    Defendant.           §


                           MEMORANDUM OPINION AND ORDER


       Plaintiff Art Shaban,         individually and doing business as
Westheimer Paint       &    Body ("Shaban") asserts claims for breach of
contract, unjust enrichment, negligent misrepresentation, fraud,
and intentional infliction of emotional distress against defendant
The Hertz Corporation ("Hertz") . 1          Defendant filed a counterclaim
against plaintiff asserting breach of contract. 2            Pending before
the court are Plaintiff's Answer to The Hertz Corporation's
Counterclaim and 12(b)(6) Motion to Dismiss Hertz Corporation's
Claims ("Shaban's Answer and MTD") (Docket Entry No. 21) and The
Hertz Corporation's Motion for Summary Judgment on Plaintiff's


      Plaintiff's First Amended Petition and Requests for
       1

Disclosure ("Shaban's Amended Petition"), Exhibit 3 to Notice of
Removal, Docket Entry No. 1-3, pp. 3-5.     All page numbers for
docket entries in the record refer to the pagination inserted at
the top of the page by the court's electronic filing system,
CM/ECF.
       2
           The Hertz Corporation's Counterclaim, Docket Entry No. 20.
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Claims ("Hertz's MSJ") (Docket Entry No. 23).                   For the reasons
explained below, Shaban's MTD will be denied, and Hertz's MSJ will
be granted in part and denied in part.


                      I.   Factual and Procedural Background

       On August 1, 2013, Shaban entered into a written contract (the

"Agency Agreement") with Hertz to become its agent in operating a
car rental business. 3          In January of 2015 Shaban moved his Hertz
agency to a new location and renamed it Westheimer Hertz. 4                   This

move occurred amid discussions with a Hertz representative, Michael
Foley, who approved the new location. 5          Shaban contends and Hertz
disputes that these discussions led to an oral or implied contract
(the       "Alleged    Second   Agreement")   that       superseded   the   Agency
Agreement and under which Hertz promised to reimburse Shaban for
some of his expenses. 6         On December 16, 2015, Hertz sent a letter
to Shaban stating that he had defaulted on his obligations to
secure Hertz's rental vehicles, to immediately notify Hertz if one


      Shaban's Amended Petition, Exhibit 3 to Notice of Removal,
       3

Docket Entry No. 1-3, p. 2 1 8; Agency Agreement, Exhibit 1 to
Hertz's MSJ, Docket Entry No. 23-2, p. 9.
      Shaban's Amended Petition, Exhibit
       4
                                                     3    to Notice of Removal,
Docket Entry No. 1-3, pp. 2-3 1 9.
       5
           Id.
      Plaintiff's Response to Defendant The Hertz Corporation's
       6

Motion for Summary Judgment ("Shaban's Response"), Docket Entry
No. 27, pp. 10-11; see Hertz's MSJ, Docket Entry No. 23, p. 5 11;
Shaban's Amended Petition, Exhibit 3 to Notice of Removal, Docket
Entry No. 1-3, p. 3 1 10.
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was lost, and to complete and execute rental agreements with each

customer. 7
      On March 7, 2016, Hertz filed an action in the County Court at
Law No. 4 of Harris County, Texas (the "County Court"), alleging
claims of breach of contract,              theft,   and conversion   against
Shaban. 8     Hertz also sought an injunction prohibiting Shaban from

using the Hertz name, signage, or logos. 9          The County Court granted
a partial motion for summary judgment finding that the Agency

Agreement was the binding contract between Hertz and Shaban, and
that Shaban had breached the agreement . 10             The County Court's
findings were based on deemed admissions that resulted from
Shaban's failure to respond to Hertz's requests for admission
during discovery. 11

     7
      Notice of Default and Termination of Agency Agreement,
Exhibit 1 to Defendant's MSJ, Docket Entry No. 23-2, p. 16.
     8
      Plaintiff's Original Petition, Application for Temporary
Restraining Order and Temporary Injunction, and Request for
Permanent Injunction ("Hertz's State Petition"), Exhibit 1 to
Hertz's MSJ, Docket Entry No. 23-2, pp. 3-5; see Declaration of
Marcus R. Tucker, Exhibit 18 to Hertz's MSJ, Docket Entry
No. 23-19.
     9
      Hertz's State Petition,       Exhibit 1 to Hertz's MSJ,         Docket
Entry No. 23-2, p. 6.
      Order Granting Partial Summary Judgment, Exhibit 9 to Hertz's
     10

MSJ, Docket Entry No. 23-10, pp. 1-2.
      See Plaintiff, The Hertz Corporation's Traditional Motion for
     11
Partial Summary Judgment as to Defendant's Breach of Contract,
Exhibit 6 to Hertz's MSJ, Docket Entry No. 23-7, p. 9 & n.4 (at
p. 5), and pp. 10-12 (relying on deemed admissions to argue the
facts underlying the motion for partial summary judgment); Order
Granting Partial Summary Judgment, Exhibit 9 to Hertz's MSJ, Docket
Entry No. 23-10, pp. 1-2 (relying on those same admissions).
                                     -3-
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     Shaban asserted a counterclaim in the County Court proceeding

contending that Hertz had breached the Alleged Second Agreement. 12
Shaban asserted claims of breach of contract, unjust enrichment,
negligent misrepresentation, fraud, and intentional infliction of
emotional distress.13 The County Court granted Hertz's no-evidence

motion for summary judgment against Shaban's counterclaims.                But
because Shaban had sought over $200,000 in damages, an amount in
controversy above the County Court's jurisdictional limit, the
Court of Appeals later reversed the County Court's judgment that
Shaban take nothing on his counterclaim.14          The counterclaim was
dismissed without prejudice but the rest of the judgment remained
intact.15
     Shaban then filed a petition asserting the same claims in the
113th District Court of Harris County, Texas, on March 15, 2017.16
But Shaban did not prosecute the action until after the Court of
Appeals determined that the County Court lacked jurisdiction over



      Defendant's Original Answer to Plaintiff's Application and
     12

Request, Exhibit 2 to Hertz's MSJ, Docket Entry No. 23-3, p. 3 112,
p. 5 1 14.
     13   Id. at 5-9.
      Shaban v. Hertz Corp., No. 01-17-00580-CV, 2018 WL 6684347,
     14

at *10 (Tex. App.-Houston [1st Dist.] Dec. 20, 2018).
      Judgment of the Court of Appeals for the First District of
     15

Texas ("Appellate Judgment"), Exhibit 15 to Hertz's MSJ, Docket
Entry No. 23-16, p. 1.
      Plaintiff's Original Petition and Requests for Disclosure
     16

("Shaban's Original Petition"), Exhibit 1 to Notice of Removal,
Docket Entry No. 1-1, p. 1.
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the counterclaim on December 20, 2018.17         Shaban filed an amended

petition on February 16, 2019. 18         Notice was served on Hertz on
February 22, 2019, 19 and Hertz removed the action to this court on
the basis of diversity jurisdiction on March 18, 2019.20
     On August 27, 2019, Hertz filed a counterclaim alleging breach
of the Agency Agreement or,       in the alternative, breach of the

Alleged Second Agreement.21     Shaban filed his Answer and Motion to
Dismiss against the counterclaim on September 17, 2019.22             Hertz

responded on October 8, 2019.23           Hertz filed its motion seeking
summary judgment on Shaban's claims on November 6, 2019.24            Shaban
responded on December 6, 2019, 25 and Hertz replied on December 13,
2019.26



      Notice of Removal, Docket Entry No. 1, p. 1 & n.1; Appellate
     17

Judgment, Exhibit 15 to Hertz's MSJ, Docket Entry No. 23-16, p. 2.
      Shaban's Amended Petition, Exhibit 3 to Notice of Removal,
     18

Docket Entry No. 1-3, p. 1.
      Citation Corporate, Exhibit 4 to Notice of Removal, Docket
     19

Entry No. 1-4, p. 1.
     20
          Notice of Removal, Docket Entry No. 1, p. 1      &   n.l.
      The Hertz Corporation's Counterclaim ("Hertz's Counterclaim") ,
     21

Docket Entry No. 20, p. 3 11 7-8.
     22
          Shaban's Answer and MTD, Docket Entry No. 21.
      The Hertz Corporation's Response to Plaintiff's Motion to
     23

Dismiss, Docket Entry No. 22.
     24
          Hertz's MSJ, Docket Entry No. 23.
     25
          Shaban's Response, Docket Entry No. 27.
      The Hertz Corporation's Reply in Support of Its Motion for
     26

Summary Judgment on Plaintiff's Claims, Docket Entry No. 28.
                                    -5-
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               II.   Hertz's Motion for Summary Judgment

      Hertz contends that (1) Shaban's contract claim is barred by
collateral estoppel in light of the findings of the County Court,
(2) damages sought by Shaban are not available under the contract,
(3) Shaban's unjust enrichment claim is barred by the existence of

a contract, (4) Shaban's fraud and negligent misrepresentation
claims are barred by limitations and cannot be supported by
evidence, and (5) Shaban's intentional infliction of emotional
distress claim cannot be supported by evidence.


A.    Standard of Review

      Summary judgment is appropriate if the movant establishes that
there is no genuine dispute about any material fact and the movant
is entitled to judgment as a matter of law.          Fed. R. Civ. P. 56(a).
Disputes about material facts are genuine "if the evidence is such
that a reasonable jury could return a verdict for the nonmoving
party."    Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2510
(1986).    The moving party is entitled to judgment as a matter of
law if "the nonmoving party has failed to make a sufficient showing
on an essential element of her case with respect to which she has
the burden of proof."       Celotex Corp. v. Catrett, 106 S. Ct. 2548,
2552 (1986).
      A party moving for summary judgment "must 'demonstrate the
absence of a genuine issue of material fact,' but need not negate
the elements of the nonmovant' s case."        Little v. Liquid Air Corp.,

                                     -6-
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37 F.3d 1069, 1075 (5th Cir. 1994) (en bane) (per curiam) (quoting

Celotex, 106 S. Ct. at 2553).         "If the moving party fails to meet
this initial burden, the motion must be denied, regardless of the
nonmovant's response."      Id. If the moving party meets this burden,
Rule 56 © requires the nonmovant to go beyond the pleadings and show

by affidavits, depositions, answers to interrogatories, admissions
on file, or other admissible evidence that specific facts exist

over which there is a genuine issue for trial.           Id.   The nonmovant

"must do more than simply show that there is some metaphysical
doubt as to the material facts."           Matsushita Electric Industrial
Co., Ltd. v. Zenith Radio Corp., 106 S. Ct. 1348, 1356 (1986).
      In reviewing the evidence "the court must draw all reasonable
inferences in favor of the nonmoving party, and it may not make
credibility determinations or weigh the evidence."                 Reeves v.
Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).
The court resolves factual controversies in favor of the nonmovant,
"but only when there is an actual controversy, that is, when both
parties have submitted evidence of contradictory facts."              Little,
37 F.3d at 1075.

B.    Breach of Contract and Unjust Enrichment

      1.   Collateral Estoppel
      Hertz argues that Shaban's breach-of-contract claim is barred
because the County Court's judgment establishes that the Agency
Agreement controlled Hertz and Shaban's business relationship and

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that Shaban breached it.27        Hertz contends that these findings
collaterally estop Shaban from arguing that the Alleged Second
Agreement controls or from recovering on his own breach-of-contract
claim.28     Shaban argues that his claims are not precluded because
the County Court never addressed his allegation that the 2013

Agency Agreement was superseded by a second agreement.29
     Collateral estoppel prohibits the relitigation of issues
across multiple lawsuits.      Sysco Food Services. Inc. v. Trapnell,
890 S.W.2d 796, 801 (Tex. 1994). It is distinct from res judicata,
which prohibits relitigation of claims or causes of action.                Barr
v. Resolution Trust Corp. ex rel. Sunbelt Federal Savings, 837
S.W.2d 627, 628 (Tex. 1992).         Because Hertz asserts collateral
estoppel from a Texas state court's determination,               the court
applies the Texas law of collateral estoppel.         See Hicks v. Quaker
Oats Co., 662 F.2d 1158, 1166 (5th Cir. 1981).        Collateral estoppel
under Texas and federal law are, however, substantially the same.
John G. and Marie Stella Kenedy Memorial Foundation v. Dewhurst, 90
S.W.3d 268,      288 (Tex. 2002).      Collateral estoppel requires a
showing that "(1) the facts sought to be litigated in the second
action were fully and fairly litigated in the first action;
(2) those facts were essential to the judgment in the first action;


     27
          Hertz' s MSJ, Docket Entry No. 23, p. 11.
     28
          Id. at 11   1 15.
     29
          Shaban's Response, Docket Entry No. 27, p. 10.
                                    -8-
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and (3) the parties were cast as adversaries in the first action."
Trapnell,       890   S.W.2d   at   801.     The    parties     agree   they were
adversaries before the County Court but contest the other two
elements.
       Hertz argues that the County Court determined that (1) the
Agency Agreement, not the Alleged Second Agreement, defined the
parties' relationship and (2) Shaban breached the agreement.30                  As

Hertz states,         these facts were established in the County Court
through deemed admissions as a result of Shaban's failure to
properly respond to written discovery. 31            The Texas Rules of Civil
Procedure provide that requests for admissions are deemed admitted
if not timely responded to.          Tex. R. Civ. P. 198.2(c).          But those
rules also limit such admissions to use "solely in the pending
action and not in any other proceeding."                 Tex. R. Civ. P. 198.3.
This prohibits the application of collateral estoppel to matters
deemed admitted under Rule 198.2.               In re Pickens, Case No. 16-
40667, 2017 WL 474318, at *6 (Bankr. E.D. Tex. Feb. 3, 2017); see
also Osteen v. Glynn Dodson, Inc., 875 S.W.2d 429, 431 (Tex. App.-
Waco    1994,     writ   denied)    (applying      the   same   holding   to   the
predecessor rule with similar language).
       Federal courts have refused to apply collateral estoppel to
deemed admissions under Federal Rule of Civil Procedure 36(b),


       30
            Hertz's MSJ, Docket Entry No. 23, p. 12         1 19.
      Id. 118; Order Granting Partial Summary Judgment, Exhibit 9
       31

to Hertz's MSJ, Docket Entry No. 23-10, pp. 1-2.
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which has a similar prohibition against the use of discovery

admissions in other proceedings.          E....,__g_._,   In re Pizante, 186 B.R.
484,    489   (9th Cir. BAP 1995);    Cozzone v. Ingui,               Civil Action
No. 06-1541, 2006 WL 3069465, at *3 (E.D. Pa. Oct. 25, 2006).                      A
prior court's determination of an issue cannot satisfy the "fully
and fairly litigated" requirement for collateral estoppel if it is
based on admissions and may not be used in subsequent proceedings.
See Matter of Cassidy, 892 F.2d 637, 640 & n.1 (7th Cir. 1990).

       The County Court's order granting partial summary judgment
that the Agency Agreement was the contract that applied and that
Shaban breached that contract were based on deemed admissions.32
The County Court's final order relied on and incorporated by
reference that granting of partial summary judgment.33                   The County
Court's determination therefore does not collaterally estop Shaban
from contesting in this action whether the Agency Agreement or the
Alleged Second Agreement governed the parties' relationship and
whether he breached the contract. Since collateral estoppel is the
only ground Hertz has raised in its motion, Hertz's MSJ will be
denied as to Shaban's breach-of-contract claim.

       2      Damages Available Under the Contract
       Alternatively   to   its   collateral              estoppel   theory,   Hertz
contends it is entitled to partial summary judgment that Shaban


      Order Granting Partial Summary Judgment, Exhibit 9 to Hertz's
       32

MSJ, Docket Entry No. 23-10, pp. 1-2.
      Order on Permanent Injunction, Exhibit 11 to Hertz's MSJ,
       33

Docket Entry No. 23-12, p. 1.
                                   -10-
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cannot recover the costs of facility renovation, monthly rental
costs, management fees or reimbursement for vehicle maintenance
under the terms of the Agency Agreement. 34        Shaban does not argue
that such damages are available under the Agency Agreement and
instead argues that they may be available under the Alleged Second
Agreement. 35     The only issue Hertz has raised as to existence,
terms,     and applicability of the Alleged Second Agreement is
collateral estoppel,      which as explained above does not apply.
Hertz therefore has not met its burden to demonstrate the absence
of a genuine issue of material fact as to the Alleged Second
Agreement.      Accordingly, the court will only grant partial summary
judgment that the costs of facility renovation,             monthly rental
costs, management fees or reimbursement for vehicle maintenance are
not available under the Agency Agreement.

     3.     Unjust Enrichment
     Hertz also argues that Shaban's unjust enrichment claim fails
because the parties' relationship was governed by the Agency
Agreement. 36    "Generally speaking, when a valid, express contract
covers the subject matter of the parties' dispute, there can be no
recovery under a quasi-contract theory .         . because parties should
be bound by their express agreements."         Fortune Production Co. v.


     34
          Hertz's MSJ, Docket Entry No. 23, p. 15     1   26.
     35
          Shaban's Response, Docket Entry No. 27, p. 14.
     36
          Hertz's MSJ, Docket Entry No. 23, p. 15     1   27.
                                   -11-
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Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000).            But Hertz relies on
its theory of collateral estoppel to argue that there is no genuine
issue of material fact that the subject matter of this dispute is
governed by the Agency Agreement.37 Because that argument fails for
the reasons explained above, the court will deny Hertz's MSJ as to

the dismissal of the unjust enrichment claim.


C.     Negligent Misrepresentation and Fraud

       1.      Statute of Limitations
       Hertz argues that Shaban's negligent misrepresentation and
fraud claims are barred by limitations, which are governed by two­
and four-year statutes of limitations respectively.38               See Kansa
Reinsurance Co., Ltd. v. Congressional Mortgage Corp. of Texas, 20
F.3d 1362, 1369, 1371 (5th Cir. 1994). A federal court sitting in
diversity applies the state's statutes of limitations to state law
claims.        Ellis v. Great Southwestern Corp., 646 F.2d 1099, 1103
(5th Cir. 1981).         A claim barred by limitations in state court
cannot proceed in federal court. Guaranty Trust Co. of New York v.
York, 65 S. Ct. 1465, 1470 (1945).
       Hertz does      not discuss the effect of          the   County   Court
proceeding on the application of the statutes of limitation to this
action.         Typically,   whether a claim was brought in a prior



       37Id.


       38
            Hertz's MSJ, Docket Entry No. 23, p. 16.
                                      -12-
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proceeding where it was dismissed is not relevant to whether it is

barred by limitations in a later action. See Clary Corp. v. Smith,
949 S.W.2d 452, 459 (Tex. App.-Fort Worth 1997, pet. denied).                In
the   case    of   dismissal    for    lack   of   jurisdiction,     however,
limitations are tolled between the filing of the first action and
the second action as long as the second action is commenced in a

court of proper jurisdiction within 60 days.             Tex. Civ. Prac.     &

Rem. Code§ 16.064(a). 39 Shaban filed his original petition in this
action on March 15, 2017, before the Court of Appeals dismissed his
County Court counterclaim for lack of jurisdiction on December 20,
2018.40 Shaban also filed his Amended Petition on February 16, 2019
- less than sixty days after the dismissal.41          The limitations for
Shaban's claims were therefore tolled between when he first raised
them in the County Court and the commencement of this action.
Because Hertz has not argued that the County Court counterclaim was
filed outside the limitations, the court concludes the same claims
filed in this action are not time-barred.
      Hertz also argues that limitations bar the claims because it
was served process outside of the limitations period and that


      Neither party has raised or addressed the applicability of
      39

§ 16.064(a), but the court may independently identify and apply the
proper construction of the governing law.         Kamen v. Kemper
Financial Services, Inc., 111 S. Ct. 1711, 1718 (1991).
      Shaban's Original Petition, Exhibit 1 to Notice of Removal,
      40

Docket Entry No. 1-1, p. l; Appellate Judgment, Exhibit 15 to
Hertz's MSJ, Docket Entry No. 23-16, p. 2.
      Shaban's Amended Petiion, Exhibit 3 to Notice of Removal,
      41

Docket Entry No. 1-3, p. 1.
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Shaban did not exercise due diligence.42          The general rule is that
if a plaintiff files a petition within the limitations period,
service of process outside the limitations period may still be
valid if the plaintiff exercises diligence in procuring service on
the defendant. Ashley v. Hawkins, 293 S.W.3d 175, 179 (Tex. 2009);

Gant v. DeLeon,      786 S.W.2d 259, 260        (Tex. 1990)         (per curiam).

Diligence     in   serving   process     is   determined   by       whether   "the
plaintiff acted as an ordinarily prudent person would have acted
under the same or similar circumstances and was diligent up until
the time the defendant was served."            Proulx v. Wells, 235 S.W.3d
213, 216 (Tex. 2007).
     Shaban filed his Original Petition on March 15, 2017, 43 but his
counterclaim was not dismissed until December 20, 2018.44 He filed
his Amended Petition on February 16, 2019, 45 and served process on
Hertz on February 22,        2019.46     Hertz argues that the long gap
between filing the Original Petition in March of 2017 and the
service of process in February of 2019 shows lack of due diligence


     42
          Hertz's MSJ, Docket Entry No. 23, pp. 16-17           1   30.
      Shaban's Original Petition, Exhibit 1 to Notice of Removal,
     43

Docket Entry No. 1-1, p. 1.
      Appellate Judgment, Exhibit 15 to Hertz's MSJ, Docket Entry
     44

No. 23-16, p. 2.
      Shaban's Amended Petition, Exhibit 3 to Notice of Removal,
     45

Docket Entry No. 1-3, p. 1.
      Citation Corporate, Exhibit 4 to Notice of Removal, Docket
     46

Entry No. 1-4, p. 1.
                                       -14-
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as a matter of law.47      An unexplained delay of many months between
filing and service of process typically shows lack of due diligence
as a matter of law.       Proulx, 235 S.W.3d at 217. But Shaban's delay
in serving process is not unexplained.               When Shaban filed his
Original     Petition,    the   County   Court's    jurisdiction   over     his

counterclaims was not yet determined.          Shaban filed his Amended
Petition within sixty days of the dismissal of his counterclaim for
lack of jurisdiction and served Hertz with process one week later.
This timing is reasonably prudent on its face because § 16.064
allows a sixty-day window for the filing of claims dismissed for
lack of jurisdiction in a different court.             The court concludes
that Shaban acted as an ordinarily prudent person in waiting for
the decision on jurisdiction over his counterclaims before the
County Court before acting to serve process on Hertz in this
action.     Shaban's negligent misrepresentation and fraud claims are
not barred by their statutes of limitations or the timeliness of
service of process.

     2.     Genuine Issue of Material Fact as to Fraud
     Hertz argues that Shaban cannot point to evidence that would
establish every element of a fraud claim at trial.48            The elements
of a fraud claim under Texas law are:              "(1) a misrepresentation


     47
          Hertz's MSJ, Docket Entry No. 23, p. 17       1 31.
     48
          Id. at 17-19.
                                    -15-
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that (2) the speaker knew to be false or made recklessly (3) with

the intention to induce the plaintiff's reliance,              followed by
(4) actual and justifiable reliance (5) causing injury."         Rio Grande
Royalty Co. 1 Inc. v. Energy Transfer Partners, L.P., 620 F.3d 465,
468 (5th Cir. 2010) (citing Ernst & Young, L.L.P. v. Pacific Mutual

Life Insurance Co., 51 S.W.3d 573, 577 (Tex. 2001)).              "[F]uture

predictions and opinions, especially those regarding the future
profitability of a business, cannot form a basis for fraud as a
matter of law."      Zar v. Omni Industries, Inc., 813 F.2d 689, 693
(5th Cir. 1987).     Hertz contends that there is no genuine issue of
material fact that Hertz made a material representation to Shaban
that it knew to be false because Shaban has not identified any
false representation except for a prediction of future business
profitability.49     The court concludes this demonstration suffices
to shift the burden to Shaban to go beyond the pleadings and show
that there is a genuine issue of material fact as to his fraud
claim.     See Little, 37 F.3d at 1075.
     Shaban responds that the false material representations were
made by Hertz's representative,        Foley, on or about January 12,
2015, "regarding the move, renovation, and lease payments of the
Hertz location operating as Westheimer Hertz" and that Hertz's
representative "recklessly made these representations to Shaban." 50



     49
          Id. at 18-19.
     50
          Shaban's Response, Docket Entry No. 27, pp. 18-19.
                                   -16-
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This explains the timing, circumstances, and subject matter of the
conversation concerning the alleged representations but not that

any were false.      Shaban points only to two email statements by
Foley.     The first is a statement that Foley needed his "boss" to
sign off on "any moves we do" and that he had "to have a plan." 51

Shaban does not argue this statement was false.            The second is a
statement that "'I have put that we expect you to grow 40% from
your current numbers if the move happens[]                 [t]hat puts you
      at roughly 60K in revenue for the year.'" 52         Shaban concedes
this statement is a future prediction that cannot serve as the
basis of a fraud claim.53           Instead,   Shaban argues that these
statements give rise to an inference that Hertz intentionally made
false statements that induced Shaban to move his Hertz agency.54
The court disagrees; evidence that a conversation occurred is not
evidence that one party made false misrepresentations during that
conversation.      Shaban has not met his burden to demonstrate a
genuine    issue   of    material    fact   that   Hertz   made   a   false
representation to him other than a prediction of future business



    51
      Id. at 19; Emails, Exhibit 10 to Shaban's Response, Docket
Entry No. 27-10, p. 2.
    52
      Shaban's Response, Docket Entry No. 27, p. 19; Emails,
Exhibit 10 to Shaban's Response, Docket Entry No. 27-10, p. 1.
    53
         Shaban's Response, Docket Entry No. 27, p. 19.
    54
         Id. at 19-20.
                                    -17-
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success.        Accordingly,   summary judgment will be granted as to
Shaban's fraud claim.


D.     Intentional Infliction of Emotional Distress

       Hertz argues Shaban cannot demonstrate at least a genuine

issue of material fact as to each element of his intentional
infliction of emotional distress claim.           The elements of this tort
are:    "(1) the defendant acted intentionally or recklessly; (2) its
conduct was extreme and outrageous; (3) its actions caused the
plaintiff emotional distress; and (4) the emotional distress was
severe."       Hersh v. Tatum, 526 S.W.3d 462, 468 (Tex. 2017).          Hertz
contends that no evidence within the record would establish these
elements,       particularly   that    Hertz's   conduct   was   extreme      and
outrageous.
       Shaban responds that "there are a myriad of facts" supporting
this claim in his Amended Petition.55              But "pleadings are not
summary judgment evidence."           Wallace v. Texas Tech University, 80
F.3d 1042, 1047 (5th Cir. 1996).              The court may only consider
"affidavits, depositions, answers to interrogatories, admissions on
file, or other admissible evidence" in determining whether specific
facts exist over which there is a genuine issue for trial. Little,
37 F.3d at 1075.       Shaban points to the following as such evidence:



       55
            Shaban's Response, Docket Entry No. 27, p. 21.
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        •       In an email dated March 24, 2015, Shaban wrote to
                Foley complaining that Hertz had not reimbursed his
                agency for money spent on expenses such as rental
                car maintenance.56   Foley replied to this email
                stating that reimbursements were low "because of
                write offs for past rentals" and offering to
                discuss the issue further.57
        •       In an email dated July 15, 2015, Shaban wrote to a
                Hertz employee, Adam Lee, complaining that Hertz
                had not reimbursed his agency for money spent on
                expenses such as rental car maintenance. 58    Lee
                replied with an offer to put Shaban in touch with
                the   Hertz      personnel in    charge   of   the
                reimbursements . 59



        •       Shaban's Answer to Hertz's Interrogatory No. 9
                states that Shaban "suffers from extreme emotional
                anguish due to concern about his current and future
                economic stability." 6°

The only conduct of Hertz's that this evidence identifies is a

failure to pay expenses, which - taking the evidence in the light

most favorable for Shaban - the court will assume were actually

owed.

        Hertz argues Shaban has not identified conduct that would

satisfy any of the elements of the claim, including the "extreme


      Emails dated March 24, 2015, Exhibit 17 to Shaban's Response,
        56

Docket Entry No. 27-17, p. 1.
        57Id.


      Emails dated July 15, 2015, Exhibit 16 to Shaban's Response,
        58

Docket Entry No 27-16, p. 1.


      Plaintiff's Objections and Responses to Defendant's First Set
     60

of Interrogatories, Exhibit 17 to Hertz's MSJ, Docket Entry
No. 23-18, p. 5.
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and   outrageous"        element.61      Whether     conduct   is    extreme   and

outrageous is a matter of law.            Bradford v. Vento, 48 S.W.3d 749,

758 (Tex. 2001)          Extreme and outrageous conduct is "'so outrageous
in character,         and so extreme in degree,          as to go beyond all
possible bounds of decency, and to be regarded as atrocious, and
utterly intolerable in a civilized community.'"                   GTE Southwest,
Inc. v. Bruce, 998 S.W.2d 605, 611 (Tex. 1999).                "[C]onduct may be
morally      unjustifiable,     but     even   unscrupulous    and   ignominious
behavior does not rise to the level of 'extreme and outrageous.'"
Lassiter v. Wilkenfeld, 930 S.W.2d 803, 808 (Tex. App.-Beaumont
1996, writ denied).
      Conduct that amounts to an "ordinary business dispute" is "not
actionable as a claim for intentional infliction of emotional
distress."         See Louis v. Mobil Chemical Co.,        254 S.W.3d 602, 609
(Tex. App.-Beaumont 2008, pet. denied).                A refusal to pay money
owed does not suffice to meet the high standard of extreme and
outrageous conduct.         To hold otherwise would permit infliction of
emotional distress claims to attach to every breach of contract
claim.       The court concludes that even making all inferences in
Shaban's favor, Hertz's conduct as shown by the summary judgment
evidence was not extreme and outrageous as a matter of law.
Accordingly,        the court will grant Hertz's motion for summary
judgment      as    to   Shaban's     claim    of   intentional   infliction   of
emotional distress.

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           Hertz's MSJ, Docket Entry No. 23, p. 20          1 38, p. 21 1 40.
                                        -20-
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                III.   Shaban's Answer and Motion to Dismiss

     In response to Hertz's Counterclaim, Shaban filed his Answer
and Motion to Dismiss. Despite its title, the filing appears to be
almost entirely an answer to Hertz's counterclaims - it responds to
each of      the allegations in Hertz's          Counterclaim and asserts
res judicata, collateral estoppel, and limitations as defenses.
Near the end the filing states:              "The defendant's counterclaim
pleadings fail to state a claim from which relief can be granted.
Fed. R. Civ. P. 12(b)(6). 1162         Shaban does not explain on what
grounds Hertz's Counterclaim fails to state a claim for which
relief may be granted.         Motions must "state with particularity the
grounds for seeking the order."              Fed. R. Civ.    P.   7 (b)(1)(B).

Moreover, a motion asserting dismissal under Rule 12(b)( 6) "must be
made before pleading."          Fed. R. Civ. P. 12(b).       Shaban instead
embedded his motion to dismiss within his answer.             Because Shaban
did not move to dismiss for failure to state a claim in accordance
with the rules, the court will deny the motion.

                         IV.    Conclusion and Order

     For the reasons explained above, the court concludes that
Shaban's breach-of-contract and unjust enrichment claims are not
barred     by    collateral     estoppel     because   the   County       Court's
determination of issues related to those claims relied on deemed


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          Shaban's Answer and MTD, Docket Entry No. 21, p. 3          1    14.
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admissions that may not be used in subsequent proceedings.              Damages
for costs of facility renovation,            monthly rental costs,            and
management fees or reimbursement for vehicle maintenance are not
available    under   the     Agency   Agreement,   but    the   court    cannot
determine whether they are available under the Alleged Second

Agreement.      Shaban's negligent misrepresentation claim is not
barred by the statute of limitations because the limitations period
was tolled by the dismissal of his counterclaims before the County
Court for lack of jurisdiction.         But Shaban has not shown there are
genuine issues of material fact as to the elements of his fraud and
intentional infliction of emotional distress claims; and Shaban did
not submit a motion to dismiss for failure to state a claim in
accordance with the rules.
      Accordingly,     The   Hertz    Corporation's   Motion    for     Summary

Judgment on Plaintiff's Claims (Docket Entry No. 23) is GRANTED as

to Shaban's fraud and intentional infliction of emotional distress
claims;   and as to the unavailability of costs for                   facility
renovation, monthly rental costs, management fees or reimbursement
for   vehicle   maintenance     under    the Agency      Agreement;     but   is
otherwise    DENIED.          Plaintiff's    Motion      to   Dismiss    Hertz

Corporation's Claims (Docket Entry No. 21) is DENIED.

      Plaintiff's Motion to Extend Discovery Deadlines (Docket Entry
No. 31) is GRANTED.     If the parties are unable to settle the case,

they will mediate by July 17, 2020.            No additional dispositive

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motions will be allowed.     The discovery deadline is extended until
September 16,   2020.      Non-dispositive motions will be filed by
October 2,   2020.      The Joint Pretrial Order will be filed by
November 6, 2020.       Docket call will be on November 13, 2020, at
3:00 p.m., in Courtroom 9-B, Ninth Floor, United States Courthouse,

515 Rusk Street, Houston, TX 77002.

     SIGNED at Houston, Texas, on this the 19th day of May, 2020.




                                                  SIM LAKE
                                     SENIOR UNITED STATES DISTRICT JUDGE




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